                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                        Plaintiff,
v.                                     CASE NO. 1:14-CV-954

THE UNIVERSITY OF NORTH
CAROLINA et al.,
                        Defendants.


     INDEX OF EXHIBITS TO DEFENDANTS’ MEMORANDUM OF LAW IN
         SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT




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   20.        Expert Report of Mitchell J. Chang, Ph.D., dated January 12, 2018
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   22.        Expert Report of Caroline M. Hoxby, Ph.D., dated January 12, 2018
   23.        Rebuttal Report of Caroline M. Hoxby, Ph.D., dated April 6, 2018
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   25.        Expert Report of Peter S. Arcidiacono, dated January 12, 2018
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   29.        Expert Reply Report of Richard D. Kahlenberg, dated June 27, 2018
   30.        Expert Report of Bridget Terry Long, Ph.D., dated January 12, 2018
   31.        Expert Rebuttal Report of Bridget Terry Long, Ph.D., dated April 6, 2018

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   32.        The Mission Statement of the University of North Carolina, Chapel Hill (UNC0323722)
   33.        Faculty Council Resolution 2016-12 - On Commitment to Diversity and Inclusion
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   34.        “The Educational Benefits of Diversity and Inclusion for Undergraduate Students at the
              University of North Carolina at Chapel Hill,” Report Submitted to Chancellor Carol L.
              Folt by Executive Vice Chancellor and Provost James W. Dean , Jr., dated May 26,
              2017 (UNC0349694-712)
   35.        The University of North Carolina at Chapel Hill Academic Plan – July 2003
              (UNC0379143-87)
   36.        The University of North Carolina at Chapel Hill Academic Plan 2011 (UNC0379188-
              283)
   37.        Faculty Advisory Committee on Undergraduate Admissions, Statement on the
              Evaluation of Candidates for Admissions, adopted September 5, 2007 (UNC0104859)
   38.        The University of North Carolina at Chapel Hill: Admissions Policy (UNC0376839-47)
   39.        Reading Document for the 2016-2017 Application Year (UNC0323603-10)
   40.        Top 10 Percent Plan (2012 Analysis) (UNC0079622)
   41.        J. Kretchmar Research Compendium (2009 Literature Review) (UNC0079519-31)
   42.        Working Group to Consider Race-Neutral Alternatives to Admissions Agenda -
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   43.        Working Group to Consider Race-Neutral Alternatives to Admissions Agenda - January
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   44.        Working Group to Consider Race-Neutral Alternatives to Admissions Meeting Minutes
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   45.        Working Group to Consider Race-Neutral Alternatives to Admissions Agenda -
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   46.        Working Group to Consider Race-Neutral Alternatives to Admissions Agenda - June
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   47.        2014-2015 Diversity Plan Report (UNC0377852-78)

   48.        UNC Chapel Hill - Student Affairs 2010-15 Strategic Plan (UNC0379113-31)
   49.        Exploring Race-Neutral Alternatives in Undergraduate Admissions (“White Paper”)
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   50.        Exploring Race-Neutral Alternatives in Undergraduate Admissions (presented to
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   51.        Exploring Race-Neutral Alternatives in Undergraduate Admissions, January 19, 2016
              PowerPoint presentation to Committee (Top 10 Percent Plan) (UNC0323680-90)

   52.        Charge of the Advisory Committee on Undergraduate Admissions 2015-2016
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   53.        Advisory Committee on Undergraduate Admissions Meeting Minutes, dated September
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   54.        2014-2015 Annual Report of the Advisory Committee on Undergraduate Admissions,
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   55.        2015-2016 Annual Report of the Advisory Committee on Undergraduate Admissions,
              dated February 24, 2017 (UNC0237297-320)

   56.        Charge of the Committee on Race-Neutral Strategies (UNC0378215)
   57.        Charge of the Literature Review Subcommittee, dated December 16, 2016 (updated
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   58.        Charge of the Data Analytics Subcommittee of the Race Neutral Strategies Task Force,
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   59.        Charge of the Subcommittee on the Impact of Diversity on the Student Experience
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   60.        Review of Admissions Decisions (School Group Review), October 1, 2015
              (UNC0079438)
   61.        2015 Carolina College Advising Corps (CCAC) Information Sheet for Robeson County
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   62.        Carolina Metrics Presentation (UNC0132974-90)
   63.        Committee on Race-Neutral Strategy, Meeting of September 9, 2016 Minutes
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   64.        The Educational Benefits of Diversity & Inclusion Working Group, Status Report for
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   65.        Interim Report Examining Potential Race-Neutral Strategies in Undergraduate
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   80.        Declaration of Paul Cuadros
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   119.       Educational Benefits of Diversity and Inclusion Working Group Meeting Minutes -
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   120.       Educational Benefits of Diversity and Inclusion Working Group Meeting Minutes –
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   121.       Educational Benefits of Diversity and Inclusion Working Group Meeting Minutes –
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   122.       Inventory of Assessments Related to the Delivery of the Educational Benefits of
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   123.       Students for Fair Admissions, Inc. v. President and Fellows of Harvard College, et al.,
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   124.       Excerpts from Deposition Transcript Vol. II of Abigail Panter
   125.       Expert Reply Report of Bridget Terry Long, Ph.D., dated June 8, 2018




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